                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-16

                                         No. 385PA19

                                     Filed 12 March 2021

     RALEIGH HOUSING AUTHORITY

                   v.
     PATRICIA WINSTON


           On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

     of the Court of Appeals, 267 N.C. App. 419 (2019), affirming an order entered on

     26 June 2018 by Judge Michael Denning in District Court, Wake County. Heard in

     the Supreme Court on 12 January 2021.


           The Francis Law Firm, PLLC, by Ruth Sheehan and Charles T. Francis and
           Alan D. Woodlief, Jr., for plaintiff-appellee.

           Robinson, Bradshaw &amp; Hinson, P.A., by Erik R. Zimmerman and Ethan R.
           White; and Legal Aid of North Carolina, Inc., by Andrew Cogdell, Celia Pistolis,
           Darren Chester, Daniel J. Dore, and Thomas Holderness, for defendant-
           appellant.

           Jack Holtzman, Emily Turner, Elizabeth Myerholtz, Lisa Grafstein, and Lisa
           Nesbitt for Disability Rights North Carolina, North Carolina Justice Center,
           North Carolina Housing Coalition, North Carolina Coalition to End
           Homelessness, North Carolina Coalition Against Domestic Violence, amici
           curiae.


           BARRINGER, Justice.

¶1         This case presents us with the question of whether a notice of lease termination

     provided to a tenant of public housing “state[d] specific grounds for termination.” 24
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     C.F.R. § 966.4(l)(3)(ii) (2019).1 Plaintiff Raleigh Housing Authority (RHA) provided a

     notice of lease termination to defendant Patricia Winston (Winston) that notified her

     of RHA’s intent to terminate her lease due to “Inappropriate Conduct – Multiple

     Complaints” and quoted provision 9(F) of the lease agreement. Because the notice of

     lease termination failed to provide Winston with the factors necessary for her to be

     on notice of RHA’s justification for the termination of her lease on this record, we

     reverse the decision of the Court of Appeals.

                                         I.     Background

¶2          RHA filed a complaint in summary ejectment against Winston on

     13 April 2018 in District Court, Wake County. RHA’s complaint alleged that the lease

     period had ended, and Winston was holding over after the end of the lease. In her

     answer, Winston denied these allegations and raised as a defense that the notice of

     lease termination “d[id] not state with specificity defendant’s alleged ‘Inappropriate

     Conduct’ ” and “violates federal lease notice requirements” citing 24 C.F.R.

     § 966.4(l)(3)(ii). The lease agreement between Winston and RHA stated that “[t]he

     notice of termination to the Resident shall state reason(s) for the termination.”

     Following a summary ejectment trial in April 2018 and a hearing on RHA’s motion




            1 While Winston cites court decisions from other jurisdictions addressing other
     regulations under Title 24, “Housing and Urban Development,” Winston has not argued that
     any regulation addressing written notice applies other than 24 C.F.R. § 966.4(l)(3)(ii) (2019).
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for eviction on 25 June 2018,2 the trial court entered an order allowing immediate

possession of the apartment to RHA. In the order allowing immediate possession, the

trial court made the following findings of fact:3

              3.     On April 17, 2017 [t]he Defendant entered into a
              renewable twelve-month lease (“Lease”) with the Plaintiff
              for a one-bedroom apartment (Apartment #206) at 150 Gas
              Light Creek Court, Raleigh, N.C. 27601.

              4.     Between October 2017 and November 2017, Plaintiff
              received three (3) written complaints from other tenants in
              the apartment complex about noise disturbances coming
              from Defendant’s apartment[.]

              5.     After the first written complaint[,] Plaintiff issued
              the Defendant a written warning indicating to the
              Defendant that a complaint had been filed against her for
              noise disturbance.

              6.     On or about December 1, 2017, after receiving a
              third written complaint from a tenant in the apartment
              complex, Plaintiff sent a letter to Defendant indicating that
              her lease would be terminated on December 31, 2017 as a
              result of violating Paragraph 9(f) of the Lease.

              7.     Violating Paragraph 9(f) is a material breach of the
              Lease.

              8.   After issuing the lease termination notice, Plaintiff
              had an informal meeting with the Defendant to discuss
              why her lease was being terminated.



       2 The trial court’s order allowing immediate possession indicates that the trial court

is addressing RHA’s motion for eviction. However, the trial court stated at the hearing that
the trial court was hearing an appeal of a summary ejectment.
        3 Winston has not challenged any of the trial court’s findings of fact on appeal to this

Court. The trial court’s findings of fact are therefore binding on appeal. See, e.g., Mussa v.
Palmer-Mussa, 366 N.C. 185, 191 (2012).
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9.     Plaintiff rescinded the lease termination letter after
the informal meeting, as the Defendant made the Plaintiff
aware that Defendant had been a victim of domestic
violence.

10.    The [c]ourt takes judicial notice of the North
Carolina Court Information System Electronic-Filing for
Domestic violence complaints and notes that on December
5th, 2017, after RHA had hand delivered and sent via
Certified mail return receipt requested the first notice of
Lease Termination to the Defendant, Defendant file[d] for
an Ex-Parte Domestic Violence Protective Order (DVPO)
against [another individual].

11.    Defendant’s request for an Ex-Parte DVPO was
DENIED on December 5th, 2017, and, notable her reasons
for requesting the order were:

      He deserve [sic] my neighbor my landlord was
      going to put me out because she didn’t want
      here and I didn’t want he there but if he keep
      coming I we have to leave.

12.    Defendant did not obtain a DVPO against [the other
individual] until the return hearing on December 18th, at
that hearing [the other individual] was not present and the
Defendant’s allegations had changed substantially:

      defendant repeatedly screams profanity at
      plaintiff and threatens to assault her;
      repeatedly verbal abuse for 17 years has
      caused her substantial emotional distress[.]

13.   At the time of the first warning Defendant indicated
to Plaintiff that she intended to get a no trespass order
against [the other individual].

14.   On or about February 5, 2018, the Plaintiff received
another noise complaint against the Defendant.
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                  15.   On or about February 13, 2018, the Plaintiff issued
                  a second notice of lease termination to the [Defendant].

                  16.    On or about February 17, 2018, the Defendant wrote
                  a memo to the Plaintiff acknowledging the noise
                  disturbances and alleging that the disturbances were a
                  result of [the other individual’s] three friends.

                  17.    Just after receiving the 2nd notice to terminate her
                  lease, Defendant sent a letter to the RHA indicating she
                  intended to get a no trespass order for the other three
                  friends of [the other individual]. Defendant has neither
                  received a no trespass order for any of the individuals nor
                  has she made any affirmative efforts to do so.

                  18.    Per the Defendant’s rights, she had a grievance
                  hearing on or about March 6, 2018 with an independent
                  third party. The grievance hearing affirmed the Plaintiff’s
                  decision to terminate the Defendant’s lease.

¶3         From these facts, the trial court concluded that “[d]efendant has . . . been given

     adequate notice of her violations of Paragraph 9(f) of the Lease.”

¶4         The Court of Appeals concluded that the trial court did not err by reaching this

     conclusion. Raleigh Hous. Auth. v. Winston, 267 N.C. App. 419, 424 (2019). The Court

     of Appeals held that “the Notice of Lease Termination to Defendant was in compliance

     with the governing federal regulation” because it “identified—and quoted—the

     specific provision serving as the basis for Defendant’s lease termination.” Id.
¶5         Winston sought discretionary review in this Court, asking this Court to

     consider “[w]hether a reference to a provision of a lease alone satisfies a public

     housing authority’s obligation under federal law to ‘state specific grounds’ for

     terminating the lease.” Winston also sought discretionary review concerning the
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     business records exception to hearsay. This Court allowed the petition for

     discretionary review on both issues presented. We reverse the decision of the Court

     of Appeals on the first issue presented and remand to the trial court for dismissal.

     Accordingly, we decline to address the evidentiary issue concerning the business

     records exception and express no opinion concerning the manner in which the Court

     of Appeals resolved that issue.

                                  II.   Standard of Review

¶6         “In federally subsidized housing cases, the court decides whether applicable

     rules and regulations have been followed, and whether termination of the lease is

     permissible.” E. Carolina Reg’l Hous. Auth. v. Lofton, 238 N.C. App. 42, 46 (2014)

     (quoting Charlotte Hous. Auth. v. Patterson, 120 N.C. App. 552, 555 (1995)), aff’d as

     modified, 369 N.C. 8 (2016). The construction of an administrative regulation is a

     question of law. United States v. Moriello, 980 F.3d 924, 930 (4th Cir. 2020). “On

     appeal, ‘[c]onclusions of law drawn by the trial court from its findings of fact are

     reviewable de novo.’ ” In re Estate of Skinner, 370 N.C. 126, 140 (2017) (alteration in

     original) (quoting In re Foreclosure of Bass, 366 N.C. 464, 467 (2013)); see also

     Moriello, 980 F.3d at 930.

                                        III.     Analysis

¶7         At issue in this case is the construction of the term “specific grounds” in 24

     C.F.R. § 966.4(l)(3)(ii). Section 966.4 of Title 24 of the Code of Federal Regulations
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     states:

                  § 966.4 Lease requirements.

                         A lease shall be entered into between the PHA and
                  each tenant of a dwelling unit which shall contain the
                  provisions described hereinafter.

                          ....

                          (l) Termination of tenancy and eviction—

                          ....

                          (3) Lease termination notice.

                          ....

                         (ii) The notice of lease termination to the tenant
                  shall state specific grounds for termination, and shall
                  inform the tenant of the tenant’s right to make such reply
                  as the tenant may wish. The notice shall also inform the
                  tenant of the right (pursuant to § 966.4(m)) to examine
                  PHA documents directly relevant to the termination or
                  eviction. When the PHA is required to afford the tenant the
                  opportunity for a grievance hearing, the notice shall also
                  inform the tenant of the tenant’s right to request a hearing
                  in accordance with the PHA’s grievance procedure.

     24 C.F.R. § 966.4.

¶8         “In resolving issues of statutory construction, we look first to the language of

     the statute itself.” Walker v. Bd. of Trs. of the N.C. Loc. Gov’tal Emps.’ Ret. Sys., 348

     N.C. 63, 65 (1998) (quoting Hieb v. Lowery, 344 N.C. 403, 409 (1996)); see also

     Radford, 734 F.3d at 293 (citing Chase Bank USA, N.A. v. McCoy, 562 U.S. 195, 204
     (2011)). When the term in the statute is unambiguous, the term “should be
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       understood in accordance with its plain meaning.” Fid. Bank v. N.C. Dep’t of Revenue,

       370 N.C. 10, 20 (2017); see also Moriello, 980 F.3d at 934 (“If the language of the

       regulation ‘has a plain and ordinary meaning, courts need look no further and should

       apply the regulation as it is written.’ ” (quoting Gilbert v. Residential Funding LLC,

       678 F.3d 271, 276 (4th Cir. 2012)). To determine the plain meaning, this Court has

       looked to dictionaries as a guide. Midrex Techs., Inc. v. N.C. Dep’t of Revenue, 369

       N.C. 250, 258 (2016).

¶9           In 24 C.F.R. § 966.4(l)(3)(ii), the adjective “specific” modifies the noun

       “grounds.” “Grounds” is defined as “factors forming a basis for action or the

       justification for a belief.” Grounds, New Oxford American Dictionary (3rd ed. 2010);

       see also Ground, Merriam-Webster’s Collegiate Dictionary (11th ed. 2007) (defining

       “ground” as “a basis for belief, action, or argument”); Ground, Black’s Law Dictionary

       (11th ed. 2019) (defining “ground” as “[t]he reason or point that something (as a legal

       claim or argument) relies on for validity”). Meanwhile, “specific” is defined as “clearly

       defined or identified.” Specific, New Oxford American Dictionary (3rd ed. 2010); see

       also Specific, Merriam-Webster’s Collegiate Dictionary (11th ed. 2007) (defining

       “specific” as “free from ambiguity”).

¶ 10         The plain meaning of “specific grounds” therefore requires RHA to clearly

       identify the factors forming the basis for termination of the lease. Applying the

       unambiguous plain meaning of “specific grounds” leads us to conclude that RHA
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       failed to comply with 24 C.F.R. § 966.4(l)(3)(ii).

¶ 11         The relevant portion of the notice of termination states:




¶ 12         As evidenced above, the notice of termination identifies provision 9(F) of the

       lease agreement, providing the contractual basis for termination of the lease.

       However, the notice of termination lacks any reference to specific conduct by Winston.

       RHA contends the “language [in the notice of termination] put . . . Winston on notice

       that her alleged lease violation was based on disturbing her neighbors.” Yet, a

       tenant’s disturbance of her neighbors encompasses a broad range of conduct, may

       involve the tenant or other persons on the premises, and, as relevant to this case,

       may include conduct for which the landlord may not evict the tenant as a matter of

       law. Specifically, as part of the Violence Against Women Act, ch. 322, 108 Stat. 1902
       (1994), Congress has prohibited covered housing programs from terminating

       participation in or evicting a tenant from housing “on the basis that the . . . tenant is

       or has been a victim of domestic violence, dating violence, sexual assault, or stalking,”

       34 U.S.C. § 12491(b)(1), and mandates that

                    [a]n incident of actual or threatened domestic violence,
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                    dating violence, sexual assault, or stalking shall not be
                    construed as—

                          (A) a serious or repeated violation of a lease for
                    housing assisted under a covered housing program by the
                    victim or threatened victim of such incident; or

                           (B) good cause for terminating the assistance,
                    tenancy, or occupancy rights to housing assisted under a
                    covered housing program of the victim or threatened victim
                    of such incident.

       34 U.S.C. § 12491(b)(2); see also N.C.G.S. § 42-42.2 (2019) (prohibiting termination of

       tenancy or “retaliat[ion] in the rental of a dwelling based substantially on: (i) the

       tenant, applicant, or a household member’s status as a victim of domestic violence,

       sexual assault, or stalking”). The additional statement in the notice of termination—

       “Inappropriate Conduct – Multiple Complaints”—is similarly broad and vague and

       subject to the same concerns as provision 9(F) of the lease agreement.

¶ 13         As a whole, the notice of termination is indeterminate. Winston cannot

       determine from the notice of termination how RHA contends she breached provision

       9(F) of the lease agreement, and none of the trial court’s factual findings support a

       conclusion otherwise. In the notice of termination, RHA failed to clearly identify the

       factors forming the basis for termination of the lease—the specific grounds for

       termination. Winston lacked adequate notice of the basis for the termination of lease.

                                       IV.      Conclusion

¶ 14         We reverse the decision of the Court of Appeals. In this case, the identification

       and quotation of the specific provision serving as the basis for the landlord’s lease
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termination does not comply with 24 C.F.R. § 966.4(l)(3)(ii) because the factors

forming the basis for termination of the lease cannot be discerned. While a quotation

of the violated lease provisions in certain factual circumstances may provide “specific

grounds for termination,” cf. Roanoke Chowan Reg’l Hous. Auth. v. Vaughan, 81 N.C.

App. 354, 358 (1986) (holding that the notice of termination provided the specific

grounds for termination even though it incorrectly cited Section 7 of the lease

agreement because the statement—“by allowing individuals not named on the lease

to reside in your apartment”—“put defendants on notice regarding the specific lease

provision deemed to have been violated”), this issue and such a notice is not before

us. We hold that on this record, the notice of termination was fatally deficient.

Accordingly, we reverse the Court of Appeals’ decision concerning compliance with 24

C.F.R. § 966.4(l)(3)(ii) and remand to the Court of Appeals for remand to the trial

court for dismissal consistent with this opinion.

      REVERSED AND REMANDED.
